                Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 1 of 13

bocarrasco47@outlook.com

From:               Bryce Carrasco <bocarrasco47@gmail.com>
Sent:               Monday, July 13, 2020 4:08 PM
To:                 asolice@mtb.com
Subject:            Pay Statements
Attachments:        1. Pay State June 30 2020.pdf; 2. Pay Statement June 15 2020.pdf


Drew, please find attached two latest pay statements as requested. Thanks. Regards, Bryce




                                                       001
               Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 2 of 13

bocarrasco47@outlook.com

From:              Bryce Carrasco <bocarrasco47@gmail.com>
Sent:              Sunday, July 19, 2020 3:48 PM
To:                asolice@mtb.com
Subject:           Fwd: Pay Statements
Attachments:       1. Pay State June 30 2020.pdf; 2. Pay Statement June 15 2020.pdf


Hey have not heard anything, any update?




                                                      002
                Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 3 of 13

bocarrasco47@outlook.com

From:               Solice Jr, Drew <asolice@mtb.com>
Sent:               Monday, July 20, 2020 7:42 AM
To:                 'Bryce Carrasco'
Subject:            RE: Pay Statements


The application was approved and the card is on the way.




                                                        003
                Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 4 of 13

bocarrasco47@outlook.com

From:               Bryce Carrasco <bocarrasco47@gmail.com>
Sent:               Monday, July 20, 2020 1:12 PM
To:                 Solice Jr, Drew
Subject:            Re: Pay Statements


Can you give me a call on my cell? What address did you send it to?




                                                        004
               Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 5 of 13

bocarrasco47@outlook.com

From:              Solice Jr, Drew <asolice@mtb.com>
Sent:              Monday, July 20, 2020 1:28 PM
To:                'Bryce Carrasco'
Subject:           RE: Pay Statements


Whats the phone number? We sent it to the 100 e redwood address.




                                                       005
               Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 6 of 13

bocarrasco47@outlook.com

From:               Bryce Carrasco <bocarrasco47@gmail.com>
Sent:               Monday, July 20, 2020 6:50 PM
To:                 Solice Jr, Drew
Subject:            Re: Pay Statements


Thought I provided cell number other day. How about online account access? Is there a way I can look at documentation
online?

Been in the dark let me know thanks.




                                                       006
                 Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 7 of 13

bocarrasco47@outlook.com

From:                Solice Jr, Drew <asolice@mtb.com>
Sent:                Tuesday, July 21, 2020 8:45 AM
To:                  'Bryce Carrasco'
Subject:             RE: Pay Statements


I was out of the office yesterday so I didn’t have access to the cell phone number. I had to call the back office for a status
update. Online access is automatically updated as soon as the card is activated. What documentation are you looking for
there is a letter that comes separate from the card that has your approval information but typically with a credit card
there isn’t further documentation provided outside of what I gave when you filled out the application. If you like I can
give you a call today.




                                                           007
                Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 8 of 13

bocarrasco47@outlook.com

From:                Bryce Carrasco <bocarrasco47@gmail.com>
Sent:                Tuesday, July 21, 2020 11:01 PM
To:                  Solice Jr, Drew
Subject:             Re: Pay Statements


Nope, that's fine. Thanks for the update




                                                    008
               Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 9 of 13

bocarrasco47@outlook.com

From:               Bryce Carrasco <bocarrasco47@gmail.com>
Sent:               Tuesday, July 28, 2020 3:47 PM
To:                 Solice Jr, Drew
Subject:            Re: Pay Statements


Drew, could you help me with setting up an online account? Thanks




                                                      009
               Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 10 of 13

bocarrasco47@outlook.com

From:               Solice Jr, Drew <asolice@mtb.com>
Sent:               Tuesday, July 28, 2020 4:15 PM
To:                 'Bryce Carrasco'
Subject:            RE: Pay Statements


In the app store select M&T, it’s a green logo. Its going to ask you for your account number or debit card number and
some personal information to verify yourself. Once you create a username and password you’ll have access to all of your
accounts.




                                                        010
                Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 11 of 13

bocarrasco47@outlook.com

From:                Bryce Carrasco <bocarrasco47@gmail.com>
Sent:                Tuesday, July 28, 2020 4:34 PM
To:                  Solice Jr, Drew
Subject:             Re: Pay Statements


This is my first account and it is only a credit card. Does that work the same way?




                                                          011
               Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 12 of 13

bocarrasco47@outlook.com

From:               Solice Jr, Drew <asolice@mtb.com>
Sent:               Tuesday, July 28, 2020 4:35 PM
To:                 'Bryce Carrasco'
Subject:            RE: Pay Statements


For the account number use the credit card number instead.




                                                        012
Case 1:21-cv-00532-SAG Document 90-1 Filed 08/23/21 Page 13 of 13




                             013
